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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

  IN RE FROZEN POTATO PRODUCTS                     No. 1:24-cv-11801
  ANTITRUST LITIGATION                             Hon. Jeffrey I. Cummings

  Burgers Are Fun LLC,

                           Plaintiff,              Case No. 1:25-cv-01738
                                                   Hon. Georgia N. Alexakis
  v.

  McCain Foods USA, Inc., et al.,

                           Defendants.




                   UNOPPOSED LOCAL RULE 40.4 MOTION TO
                        REASSIGN CASE AS RELATED

       Pursuant to Local Rule 40.4, Plaintiff Burgers Are Fun, LLC d/b/a Wes Burger

‘N’ More (“Plaintiff”) respectfully moves this Honorable Court to reassign this matter,

Burgers Are Fun LLC v. McCain Foods USA, Inc., et al., No: 1:25-cv-01738 (“Burgers

Are Fun”) to this Court.

       Plaintiff filed a class action complaint in this District on February 19, 2025,

individually and on behalf of indirect purchasers of frozen potato products, as related to

the first-filed case, Redner’s Markets Inc. v. Lamb Weston Holdings, Inc., No. 1:24-cv-

11801 (N.D. Ill) (“Redner’s”), which has been renamed “In re Frozen Potato Products
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Antitrust Litigation.” (Redner’s, Dkt 60). 1 Defendants in both cases are: Lamb Weston

Holdings, Inc.; Lamb Weston, Inc.; Lamb Weston BSW, LLC; Lamb Weston/Midwest,

Inc.; Lamb Weston Sales, Inc.; McCain Foods Limited; McCain Foods USA, Inc.; J.R.

Simplot Co.; Cavendish Farms Ltd.; and Cavendish Farms, Inc.

       Copies of the Burgers Are Fun LLC complaint and the Redner’s complaints are

attached as Exhibits 1 and 2, respectively, to the Declaration of Stacey P. Slaughter, filed

herewith. Defendants do not oppose this motion.

                                       ARGUMENT

       Local Rule 40.4 reassignment calls for both (a) relatedness and (b) efficiency. This

case and the Redner’s case are related, and it would be efficient for both to be litigated in

this Court.

       Relatedness. Two or more civil cases may be related under Local Rule 40.4 if one

or more of the following conditions are met: “(1) the cases involve the same property; (2)

the cases involve some of the same issues of fact or law; (3) the cases grow out of the

same transaction or occurrence; or (4) in class action suits, one or more of the classes

involved in the cases is or are the same.” Richburg v. Conagra Brands, Inc., No. 22-cv-

2420, 2022 WL 16836408, at *2 (N.D. Ill. Nov. 9, 2022) (citing L.R. 40.4(a)).

       These cases: (1) involve the same property as the first-filed case; (2) complain of

the same price-fixing conspiracy under federal antitrust laws by Defendants’ to


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  This Court issued an order in Redner’s on February 13, 2025, consolidating previously-
filed related actions, designating Redner’s the “Lead Case File,” and renaming Redner’s as
“In re Frozen Potato Products Antitrust Litigation.” (Redner’s, Dkt. 60).

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unlawfully increase the prices of frozen potato products; and (3) involve many of the

same issues of law because all the complaints allege an antitrust conspiracy to fix prices

of frozen potato products, like the first-filed action, Redner’s.

       Efficiency. A case may be reassigned to the calendar of another judge pursuant to

Local Rule 40.4 if it is found to be related to an earlier-numbered case assigned to that

judge and each of the following criteria is met: “(1) both cases are pending in this Court;

(2) the handling of both cases by the same judge is likely to result in a substantial saving

of judicial time and effort; (3) the earlier case has not progressed to the point where

designating a later filed case as related would be likely to delay the proceedings in the

earlier case substantially; and (4) the cases are susceptible of disposition in a single

proceeding.” Id. (citing L.R. 40.4(b)).

       Both cases are proceeding in the Northern District of Illinois and reassignment

would not cause delay, with each case in substantially the same very early procedural

phase. Reassignment is also likely to result in a significant judicial efficiency, avoiding

duplicative judicial time and effort spent where discovery and common defenses are

substantially similar. In addition, the cases are susceptible to disposition in a single

proceeding because they involve fundamentally similar claims and defenses.

       Finally, Stacey P. Slaughter, undersigned counsel, filed a motion for leadership

appointment to represent the indirect purchaser commercial and consumer plaintiffs in

Redner’s. This application was joined by DiCello Levitt LLP and Lowey Dannenberg,

P.C. (“Lowey”). A complaint filed by Lowey in Alamo’s Roast Beef, Inc. v. Lamb Weston



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Holdings, Inc., et al., No. 1:24-cv-12744 (N.D. Ill), has already been reassigned and

consolidated in Redner’s. (Redner’s, Dkt. 60).

                                    CONCLUSION

      For the foregoing reasons, Plaintiff’s motion should be GRANTED.

Dated: February 27, 2025                         Respectfully submitted,

                                                 /s/ Stacey P. Slaughter
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